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                                EXHIBIT H
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Sent:       Tue, 6 Nov 2012 15 55 11 -0500
Subject: ADVISORY (URGENT) NYCLU & Community Groups Criticize Suffolk County for Rejecting Online Voter Registration
Applications
 From:      Daniel Altschuler <daniel altschuler@maketheroadny org>
 To:        Daniel Altschuler <daniel altschuler@maketheroadny org>

Please see below for an urgent advisory from the NYCLU and community allies, including the Long Island Civic
Engagement Table.

Contact: Jennifer Camig, 845.553 0349 / icarmg^m clu.org
         Daniel Altschuler, Long Island Civic Engagement Table, 917-494-5922

    NYCLU & Community Groups Criticize Suffolk County for Rejecting Online Voter Registration Applications

FOR IMMEDIATE RELEASE
November 6, 2012 - The New York Civil Liberties Union today condemned the Suffolk County Board of Election's
unlawful policy of rejecting valid voter registration applications submitted through the New York DMV's online system.

"The online registration system was established to help enable New Yorkers to go to the polls," NYCLU Executive Direc
Donna Lieberman said. "The Suffolk County Board of Elections' unconscionable refusal to accept these online applicatio
has effectively stripped New Yorkers of their voting rights. State and county officials must act to ensure that anyone
disenfranchised by this policy has their voting rights restored in time to cast a ballot today."

The Brennan Center for Justice uncovered the problem
yesterdav<http://www.brennancenter.org/content/resource/potential disenfranchisement on long island election officii
 reject voter/>. Organizations that support the call for voting rights in Suffolk County include the Long Island Civic
Engagement Table, Make the Road NY, New York State Civic Engagement Table, La Fuente Long Island Civic
Participation, Project Long Island Progressive Coalition and New York Communities for Change.

The state DMV, in conjunction with the Governor's office, developed an online voter registration process in August 2012
that permits voters to submit a complete and secure voter registration online, including a signature pulled from the DMV
existing records.
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according to the state's online procedures," said Daniel Altschuler, coordinator of the Long Island Civic Engagement TabL
"The Board of Elections must rectify this appalling act of disenfranchisement."



Daniel Altschuler
Coordinator, Long Island Civic Engagement Table
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